Case 1:25-cv-01935-JMF Document14_ Filed 03/11/25 Page1of2

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

Mahmoud KHALIL,

Vv.

William P. JOYCE, in his official capacity as Acting
Field Office Director, New York City Field Office, U.S.
Immigration and Customs Enforcement, et al.,

Petitioner,

Case No. 25-ev-1935 (JMF)

Respondents.

AFFIDAVIT OF SERVICE

I, ZAWAREEN ZAKARIA, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that

the following is true and correct:

1. I am not a party to the above-captioned action, am 18 years of age or older, and am an

employee of the New York Civil Liberties Union Foundation.

2. On the 11" of March, 2025, at 11:04 a.m., at the address of the U.S. Attorney’s Office,

Southern District of New York, 86 Chambers Street, Third Floor, New York, New York,

10007, I served one true copy of each of the following documents on the United States

Attorney’s Office for the Southern District of New York in the above-captioned matter:

a.

b.

Petitioner’s Petition for a Writ of Habeas Corpus (ECF 2);

Civil Cover Sheet (ECF 3);

Court’s Notice of Conference (ECF 9);

Petitioner’s Motion to Compel Respondents to Return Petitioner to this District
(ECF 11); and

Declaration of Amy Greer (ECF 11-1).
Case 1:25-cv-01935-JMF Document14_ Filed 03/11/25 Page 2of2

3. This method of service was delivering to and leaving personally the above-described
documents with Gary Dowling who confirmed that he was the person authorized to accept
service for the United States Attorney’s Office for the Southern District of New York.

4. Gary Dowling accepted the service and then stamped and signed a copy of the cover letter
regarding the service from the New York Civil Liberties Union. He then provided to me
this signed and stamped copy of the letter after service was completed as confirmation of
receipt. A true and correct copy of the stamped and signed copy of this cover letter is
attached to this affirmation as Exhibit A.

5. It is my belief that Gary Dowling is not in the Military Service of the State of New York
of the United States as the term is defined in either the State or Federal statutes.

6. The description of the person on whom service was effectuated is as follows: white man of
28-45 years of age, 5’10’-6"1” tall. He was wearing a white New York Rangers baseball
cap with a dark blue brim; a long-sleeve, dark blue, high-neck New York Rangers sweater

with a full zip; light blue distressed jeans; and white Air Jordan sneakers with a black heel.

I affirm this 11" day of March, 2025, under the penalties of perjury under the laws of New York,
which may include a fine or imprisonment, that the foregoing is true, and I understand that this

document may be filed in an action or proceeding in a court of law.

Dated: March 11, 2025 Lx
New York, New York ee

Zatwareeh Tae ——

Sworn onto before me this 11" Day : vy Ae
of March, 2025: ALL

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NOTARY PuBiye

Robert Andrew Hodgson
Notary Public, State of New York
Reg. No. 02HO0013228
Qualified in KINGS County
Commission Expires 09/07/2027
